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 1                           UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS
 2

 3       BLAINE FRANKLIN SHAW, SAMUEL
         JAMES SHAW, JOSHUA BOSIRE,
 4       individually and on behalf of
         a class,
 5
              Plaintiffs,
 6
         v.                                              Case No. 19-1343-KHV-GEB
 7
         DOUG SCHULTE, Master Trooper,
 8       in his individual capacity;
         HERMAN JONES, in his official
 9       capacity as the
         Superintendent of the Kansas
10       Highway Patrol; BRANDON
         McMILLAN, Technical Trooper,
11       in his individual capacity,

12         Defendants.
         ......................                          .......................
13
         MARK ERICH;
14       SHAWNA MALONEY,
         individually and as the
15       mother and natural guardian
         of minors D.M. and M.M.,
16
              Consolidated Plaintiffs,
17
         v.                                              Case No. 20-1067-KHV-GEB
18
         HERMAN JONES, in his official
19       capacity as the
         Superintendent of the Kansas
20       Highway Patrol,                                 Kansas City, Kansas
                                                         Date:   09/03/2021
21            Consolidated Defendant.
                                                         (Pages 1-48)
22       ......................

23
                             TRANSCRIPT OF MOTION HEARING
24
                      BEFORE THE HONORABLE KATHRYN H. VRATIL
25                   SENIOR UNITED STATES DISTRICT COURT JUDGE


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 1     APPEARANCES:

 2     For the Plaintiffs:

 3     Mr. Joshua M. Pierson                             Ms. Madison A. Perry
       Ms. Sharon Brett                                  Spencer Fane, LLP
 4     ACLU Foundation of Kansas                         1100 Walnut Street
       6701 West 64th Street                             Suite 1400
 5     Suite 210                                         Kansas City, Missouri 64106
       Overland Park, Kansas 66202
 6
       For the Consolidated Plaintiffs:
 7
       (Appeared not)
 8
       For the Defendants/Consolidated Defendant:
 9
       Mr. Arthur S. Chalmers
10     Office of Attorney General
       120 Southwest 10th Avenue
11     Topeka, Kansas 66612

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24     ______________________________________________________________
                  Proceedings recorded by machine shorthand,
25          transcript produced by computer-aided transcription.


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 1                 (1:10 p.m., proceedings commenced).

 2                 THE COURT:     Good afternoon.

 3                 MR. PIERSON:       Good afternoon.

 4                 THE COURT:     The court calls Shaw versus Jones and

 5     Erich versus Jones, Case Nos. 19-1343 and 20-1067.

 6                 Will counsel state their appearances, please.

 7                 MR. PIERSON:       Your Honor, I'm Josh Pierson for the

 8     plaintiffs.

 9                 MS. BRETT:     Sharon Brett for the plaintiffs.

10                 MS. PERRY:     Madison Perry for the plaintiffs, Your

11     Honor.    And I will also state that the three of us represent

12     the plaintiffs in the Blaine Shaw case.                         We do not represent

13     the plaintiffs in the Erich case, since you called both of

14     them.

15                 THE COURT:     Okay.        And I'm sorry, what did you say

16     your name is?

17                 MS. PERRY:     Madison Perry.

18                 THE COURT:     Okay.        Thank you.

19                 MR. CHALMERS:        For the defendants, Your Honor, Arthur

20     Chalmers.

21                 THE COURT:     Thank you.

22                 And so is Mr. Erich represented by counsel here this

23     afternoon?

24                 MS. PERRY:     He's not here this afternoon, Your Honor.

25     I believe the magistrate judge sent an order to show cause for


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 1     him to respond, and I don't believe his counsel has done so.

 2                THE COURT:      Okay.        So, I'm sorry, I was not aware that

 3     there was an issue with that attorney.                        Does anybody know

 4     what's going on?

 5                MR. CHALMERS:         Your Honor, the short answer is no.

 6     The plaintiff wanted to join and actually consolidated with

 7     this case.    And then after that it's as if the plaintiff and

 8     the plaintiff's attorney have lost interest.                             They have not

 9     attended hearings, they've not responded to discovery.                            And

10     that led Judge Birzer to issue a show cause order, to ask them

11     whether they -- why they shouldn't be dismissed for failure to

12     prosecute, which I think she would be referring to you if she

13     doesn't hear a response.            But no one seems to know.                  And there

14     have been efforts both by my office as well as plaintiffs'

15     office to reach out to them.

16                Now, the good news is that claim has nothing to do

17     with the issues in these motions.                    They deal with two of the

18     three defendants and then obviously the three plaintiffs.

19                THE COURT:      Okay.        Well, we have a number of motions

20     to take up.    But, Mr. Chalmers, I have a few questions for you

21     before we take them up directly.

22                So I just want to clarify for the record sort of how

23     the parties are aligned here.                I think we all understand that

24     under the doctrine of qualified immunity the purpose is to

25     protect individual law enforcement officers and other municipal


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 1     employees from personal liability for mistakes that are not

 2     clearly in violation of the constitutional law and to relieve

 3     them of even the burdens of going forward with suit.

 4                How do those theories apply in this case, because

 5     you -- you work for the State of Kansas.                          Right?

 6                MR. CHALMERS:         Yeah, I'm with the Attorney General's

 7     Office, Your Honor.

 8                THE COURT:      Okay.        And so in this case the defendants

 9     aren't -- they're not personally retaining lawyers to represent

10     them.   Right?

11                MR. CHALMERS:         Through the Tort Claims Act, our office

12     has been hired basically to represent them in this lawsuit in

13     their personal capacities.

14                THE COURT:      And so is that something that typically

15     happens in these civil rights cases?

16                MR. CHALMERS:         Well, the civil rights cases against

17     the state are unique in that you've got qualified -- or, excuse

18     me, you've got Eleventh Amendment immunity as to the state and

19     so you don't have the respondeat or the Monell question that

20     might arise otherwise.          So, yeah, it is kind of typical.

21                In this case a judgment was made and after advice, so

22     forth, that we'd be able to represent both the two individual

23     defendants who have been sued in their individual capacity as

24     well as the colonel, who's been sued in his official capacity

25     of the -- the colonel obviously is Defendant Jones for the


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 1     Kansas Highway Patrol, Your Honor.                       So I guess it is typical.

 2                THE COURT:      So, I mean, that's basically the policy,

 3     that the Attorney General will represent individual law

 4     enforcement officers who are sued in their personal capacities?

 5                MR. CHALMERS:         If a request is posted under the Tort

 6     Claims Act, then the -- as to the state, then, yeah, typically

 7     the Attorney General will represent them or will retain counsel

 8     to represent them.

 9                THE COURT:      Okay.        So it's sort of a fiction to say

10     that the individual defendants have to personally assume the

11     cost of defense?

12                MR. CHALMERS:         That is true.

13                THE COURT:      Okay.        And what about liability?

14                MR. CHALMERS:         It's the -- well, the liability under

15     the Tort Claims Act, with some exceptions, is the liability of

16     the state.    The Tort Claims Act would say -- there's a separate

17     section that deals with civil rights suits, which say that it

18     will pay if the officers are liable.                      There are -- without

19     getting into nuances of some exceptions dealing with when

20     there's immunity and so forth, which kind of contemplates

21     qualified immunity as an exception to the payment under the

22     act.

23                But beyond that, there are some exceptions that

24     couldn't be present here that would say in some instances the

25     officers wouldn't be entitled to reimbursement from the Tort


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 1     Claims Act.    That's for actual damages.                       Punitive damages are

 2     not covered under the Tort Claims Act.

 3                THE COURT:      But does the State of Kansas usually end

 4     up paying those indirectly by the terms of settlements and so

 5     forth?

 6                MR. CHALMERS:         Well, I think that the State of Kansas,

 7     when it has resolved lawsuits against its officials that

 8     include claims for punitive damages, tries to settle the whole

 9     case.    So yeah.   But I -- no, I don't know that there is any

10     policy that the state has to pay punitive damages.                            I think the

11     Tort Claims Act, with maybe some restrictions, allows the state

12     to do it if it chooses to do so.                   But I can't answer your

13     question to say that they have.

14                THE COURT:      And here, because Herman Jones is sued in

15     his official capacity, his liability would only accrue if there

16     is an underlying violation by the individual officers.

17     Correct?

18                MR. CHALMERS:         Well, the claim against Colonel Jones

19     is for alleged policy and practice as it relates to, I view,

20     certain types of traffic stops which these two were involved

21     in, but it is for -- only for prospective injunctive relief.

22     And one could find in this instance that these plaintiffs are

23     unable to recover.       But I think under what the court has held

24     on the issue of standing, it's still conceptually possible for

25     the case to go forward against Jones on the policy and practice


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 1     aspect, which is a current and prospective thing.

 2                So I guess the answer is - and I think plaintiffs

 3     would agree with this - is that no, these two individual claims

 4     don't control whether or not there is liability to the state

 5     with respect to the policy and practice claims they've alleged.

 6                THE COURT:      So help me understand that, because if

 7     there was no constitutional right that the individual officers

 8     violated, what would be the causation between whatever the

 9     Superintendent Jones did and the damages to plaintiffs?

10                MR. CHALMERS:         Well, I think that the argument that

11     plaintiff will make is that their clients possessed standing

12     because there is, they allege, a widespread policy and practice

13     of unconstitutional conduct on how traffic stops are conducted

14     such that there's an imminent likelihood that they will be

15     subjected to it again.

16                That is a claim that is not controlled by whether or

17     not their particular stops were unconstitutional or whether the

18     officers have qualified immunity for liability for those stops.

19                I think in the usual case it would be -- well, if you

20     had a straight-up Monell case, if you had one where we don't

21     have an Eleventh Amendment issue, in that setting -- in that

22     usual setting, you would have no liability by the city or

23     municipality absent an underlying constitutional violation.

24     That's true.

25                But I think the issue here is whether or not these


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 1     plaintiffs have standing to present these claims on the basis

 2     of a policy and practice that they've alleged if they can prove

 3     it and prove that they fall within that orbit of risk I guess

 4     under the policy and practice.

 5                THE COURT:      Okay.        I'm not really talking about

 6     standing, I'm really trying to think about liability and

 7     damages.

 8                So, Mr. Pierson, can you help me understand how you

 9     could hold Superintendent Jones liable if there's no underlying

10     violation by the individual officers?

11                MR. PIERSON:        Yes, Your Honor.                  So I think we largely

12     agree with the defense -- with what the defense has just said.

13     The claims against the individual officers are individual

14     claims for damages based on the events of these stops.                          The

15     claims against Superintendent Jones are for injunctive relief

16     only, equitable relief for a policy and practice of the Kansas

17     Highway Patrol of unconstitutionally targeting out-of-state

18     drivers for prolonged detentions as well as prolonging

19     detentions without reasonable suspicion in violation of the

20     Fourth Amendment.

21                So the claims against Superintendent Jones are for

22     prospective relief only and do not depend on the success of the

23     individual claims that are the subject of defendant's motions

24     for summary judgment.         I think the two are related.                    It might

25     be possible that the evidence in the individual claims would be


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 1      relevant to the policy and practice claim but certainly not

 2      necessary for their success -- for the success of the policy

 3      and practice claim.

 4                 THE COURT:      So even if plaintiffs were not unlawfully

 5      stopped and their detentions were not unlawfully prolonged,

 6      they could still get injunctive relief from -- on the official

 7      capacity claims?

 8                 MR. PIERSON:        Yes, Your Honor.                  Yes.

 9                 THE COURT:      Okay.        All right.             I think I understand.

10                 So basically on each of these cases we have the

11      pending motions for leave to file a reply out of time, and

12      there are the underlying issues of excusable neglect with

13      regard to that.    I also want to address how you think the

14      result would be any different if I considered the reply,

15      because the proposed replies -- I've looked at them and I don't

16      really see anything new or anything that would've changed my

17      outcome.

18                 So why don't we start with that, Mr. Chalmers.                          And

19      just for the record, you repeat in pretty much every filing

20      that you think I only overruled your motions for summary

21      judgment on the issue of qualified immunity because you didn't

22      file a reply.    Where did you get that idea?

23                 MR. CHALMERS:         If I worded it that way, it was

24      imprecise.    What I would've tried to do is that if that was why

25      you overruled it, then -- as opposed that you did.                            I, frankly,


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 1      put those together rather quickly and it's possible I -- I

 2      apologize if my language was less than clear.

 3                 THE COURT:      Okay.        Well, your language is very clear

 4      and --

 5                 MR. CHALMERS:         Well, my meaning I guess was not well

 6      conveyed then.    I apologize.

 7                 THE COURT:      Okay.        Well, let's talk about whether you

 8      should be allowed to file replies, briefs out of time.                        And if

 9      -- well, before we go there, let's talk about why you think it

10      makes a difference if you filed the reply briefs.

11                 MR. CHALMERS:         Thank you, Your Honor.

12                 THE COURT:      Because, I mean, just for the record, I

13      did not overrule your motions because you didn't file a reply

14      brief.    The case was fully briefed, it was fully at issue, you

15      didn't file a reply brief.              And I don't know what I'm supposed

16      to do at that point, other than rule on what I have in front of

17      me.

18                 MR. CHALMERS:         And I appreciate that explanation, Your

19      Honor.

20                 I can best probably answer your question by telling

21      you my thinking as to why I filed these combined motions.                       At

22      the outset, the Tenth Circuit has said that the issue of -- or

23      the question of whether there is reasonable suspicion or

24      probable cause is a question for the court, unlike in a

25      negligence case where a jury might decide what's reasonable.


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 1                And so they said that when it gets time to instruct a

 2      jury, the preferred route is to give a special instruction

 3      identifying those questions of historical fact that need to be

 4      resolved and then the court, with that information, will make

 5      the final decision.

 6                The court chose, as the court had every right to, not

 7      to issue an opinion that made findings of fact in particular or

 8      conclusions of law.       That made it, in my view, difficult to

 9      figure out what -- if it goes to a trial before a jury what

10      those special instructions might be and, frankly, a little bit

11      difficult on how to prepare for trial itself.                                And so my first

12      thought was maybe I should ask for some sort of reconsideration

13      to see if the court is willing to give that sort of direction,

14      which you have every right to choose not to give.

15                Secondly, the Tenth Circuit says in those cases where

16      the courts have said -- or have decided they do not wish to

17      make findings on the denial of a motion for summary judgment

18      and it comes before them on whether there is qualified immunity

19      on interlocutory appeal, they said, we will go ahead and do

20      what the trial court would do, which is we'll review the

21      record, see what the facts are, and see if there are things in

22      controversy and where they are.                  Taking those facts in a light

23      most favorable to the plaintiff in this instance, we'll go

24      ahead and decide the underlying legal issues.

25                So my thought was the Tenth Circuit would also look


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 1      favorably on having those sorts of findings.                             They might find

 2      that helpful.

 3                I thought if I was going to go ahead and ask for that

 4      sort of adjustment to the court's order, I might also ask

 5      whether or not the court could conclude that the ruling, if

 6      premised on some of the arguments that had been made by

 7      plaintiff, was clearly erroneous.

 8                Now, there are different pathways I think for the

 9      court to have reached your decision.                      If you reached them on

10      some of the pathways that are offered by the plaintiffs, I

11      would respectfully submit it is not supported by the law and

12      it's clearly erroneous.           So I went ahead and filed that motion.

13                Now, I understand the motion to reconsider and have it

14      favored, I would be -- I don't know, maybe it was a handful of

15      times I've seen that courts will reconsider and make their --

16      change their minds.       Certainly in a case like that, that seems

17      -- like this, that seems likely.                   But I felt if I was making

18      that motion, I might as well make it.                       So that's what I did.

19                Now, at the same time, the reply that I filed --

20      because I think you asked another question or at least implicit

21      in your question is, you've made your ruling, what difference

22      does it make now to file a reply out of time?                                Maybe that's

23      kind of my phrasing on it.

24                Well, the difference to me is I would like to have a

25      complete summary judgment record for the purpose of the


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 1      interlocutory appeal which I would expect, given your comments,

 2      will probably go forward.

 3                  THE COURT:     But I mean, why?                  I didn't have the

 4      benefit of the quote-unquote complete record.                                So why should

 5      the Tenth Circuit be reviewing what I did on the basis of a

 6      different record?

 7                  MR. CHALMERS:        Well, I think it -- that's a point that

 8      makes sense except that a motion to deny -- or rather a denial

 9      of a motion for summary judgment is a provisional sort of

10      decision.    What I mean by that, it's going to come up again.

11                  I would anticipate, given your comments, that if I

12      were to file a motion to say I want to renew my motion for

13      summary judgment on the idea maybe that the reason it was

14      denied was because discovery wasn't complete, which was one of

15      the arguments that was advanced by plaintiff, it would be

16      denied.   But that always could come up.                        But if it doesn't come

17      up in another motion for summary judgment, it comes up during

18      the course of trial in a motion for judgment.

19                  And so unlike when summary judgment is entered or some

20      of the other instances where there's finality, here there's not

21      a finality.    And it seems to me it's only fair and just to have

22      all the facts for the appellate court to look at it on summary

23      judgment that might be important to its decision.                               And that is

24      this -- the other reason I was thinking it was important in my

25      -- really my selfish reasons for filing a motion to file out of


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 1      time, because I recognized if you had made your decision, then

 2      filing the reply that you weren't going to consider wasn't

 3      going to advance anything.              But I did need, I felt, to get a

 4      couple of exhibits, Exhibit 8 and Exhibit 9, into the summary

 5      judgment record.     So that was my thought process.

 6                 I can address if you'd like why at least in this

 7      instance a motion to reconsider makes sense, and I can be very

 8      short.    I won't address why you would want to alter your

 9      opinion because it's clear error, I respect what the court has

10      told me on that point.

11                 THE COURT:      So remind me what Exhibits 8 and 9 are.

12                 MR. CHALMERS:         I'm sorry?

13                 THE COURT:      Remind me again what Exhibits 8 and 9 are.

14                 MR. CHALMERS:         Exhibit 8 is an excerpt of testimony

15      from Mr. Bosire, it's testimony concerning when he was in the

16      Love's convenience store.

17                 Exhibit 9 is a video.                The plaintiffs had in their

18      response talked about the convenience store video and that they

19      had shown a portion of it to one of the witnesses.                            And in that

20      video that they -- the portion they showed, it did not -- it

21      showed the troopers but didn't show people around the entrance

22      or exit to the convenience store.

23                 And so the video itself shows the troopers -- one

24      trooper leaving, a group of people coming in, the two trooper

25      defendants then walking towards the door to leave.                            One trooper


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 1      defendant, Mr. McMillan, actually turning and looking at Mr.

 2      Bosire, who had just walked in on the video in the excerpt that

 3      wasn't shown during the deposition.

 4                So it was there to show that there was proximity

 5      between Mr. Bosire and these two troopers, which confirms their

 6      testimony that they felt he may be associated with the smell of

 7      marijuana that they experienced at the convenience store, Your

 8      Honor.

 9                THE COURT:       So, I mean, we can talk in more detail

10      about the specific cases, but to me the description of that is

11      inconsistent with Paragraphs 16 and 17 -- I mean, 17 of Brandon

12      McMillan's affidavit.

13                I mean, and, frankly, I'll say this about both cases,

14      the reason that I overruled your motion was not because

15      discovery was incomplete, it was because the genuine issues of

16      material fact on the record prevented me from finding that you

17      were entitled to judgment as a matter of law on the issue of

18      qualified immunity.       And as much as anything, that's because of

19      these affidavits, which are full of contradictions and gaps and

20      internal inconsistencies which, frankly, I think make them sort

21      of ridiculous in some respects.

22                So I mean, for example, with Officer McMillan's, he

23      doesn't even -- nothing in his affidavit even places defendant

24      within the Love's convenience store ever.                           And his name doesn't

25      come up until he and Trooper Schulte leave the store.                          They


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 1      smell the odor of marijuana coming from people around or who

 2      had been around the entrance.                It doesn't say anything about

 3      plaintiff or the man in the hoodie.

 4                 So they go stand outside the convenience store and he

 5      notices a black man and a white man in a hoodie standing and

 6      talking by the car.       He never places them inside the car, he

 7      never says anything about why -- what happened in the

 8      convenience store is even relevant, and he never smells

 9      marijuana on either plaintiff or the man in the hoodie.

10                 So, I mean, I don't understand even what the whole

11      purpose of Paragraph 17 is.              Why is -- why are we talking about

12      this quote-unquote group of people inside the convenience store

13      and the fact that they smelled marijuana when there's no

14      connection to plaintiff?

15                 MR. CHALMERS:         I think the testimony was in their

16      affidavit that they thought he might be associated with the

17      smell.

18                 THE COURT:      Yeah.        So that's a great -- that's a great

19      point.    So they smell marijuana, they're outside the

20      convenience store, they apparently are scanning the parking lot

21      and they see a black guy in a car that's newer and in better

22      condition than maybe they think he should be driving and they

23      see him talking to a guy in a hoodie, so therefore they decide

24      that he must be the source?

25                 MR. CHALMERS:         I think the testimony is that they


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 1      smelled the marijuana in the convenience store.

 2                  THE COURT:     It says, "While exiting the store, I

 3      smelled the odor of marijuana seemingly coming from people

 4      around or who had been around the entrance of the store."

 5                  MR. CHALMERS:        Yeah.

 6                  THE COURT:     And there's no reference to plaintiff

 7      being part of that group.

 8                  MR. CHALMERS:        It's true there's no reference.              I

 9      think that the area you're talking about is in the foyer, is

10      the exit.

11                  The video which -- of the Love's shop shows

12      people coming in -- shows Mr. Bosire coming in, shows people

13      milling around, shows the troopers leaving, shows McMillan

14      turning and seeing Mr. Bosire there.                      Now, he probably was no

15      closer to Mr. Bosire than I am to your law clerks, so he would

16      have been several feet away.

17                  THE COURT:     Okay.        That's not in the record.

18                  MR. CHALMERS:        No, that part isn't.

19                  THE COURT:     And so --

20                  MR. CHALMERS:        The video is, if the court accepts it.

21      That's the point.

22                  THE COURT:     So but my point is, the video that you now

23      want to introduce is inconsistent with your client's affidavit.

24      And so that doesn't necessarily support your request for

25      summary judgment, it just introduces another genuine issue of


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 1      material fact.

 2                MR. CHALMERS:          Yeah, I don't know that I can agree

 3      that the video is inconsistent in that the affidavit is

 4      intending to convey that -- when they smelled it.                             It was when

 5      they were in the store exiting and it was people coming in and

 6      around.   But it is clear that they do not provide testimony

 7      that they smelled it on Mr. Bosire.                      Rather, the two of them

 8      felt that he might've been the source of the marijuana.

 9                THE COURT:       And why would he might -- why is that

10      maybe -- why would he maybe be the source?                            It doesn't say in

11      the affidavit that he was near the convenience store entrance

12      or inside.    The only thing we know is that he's a black man

13      talking to a white man in a hoodie, and they look at him and

14      go, "I believe that one or both could've been the people

15      associated with the marijuana."

16                MR. CHALMERS:          Well, I think that they saw him by a

17      rental car and they saw the rental car with the --

18                THE COURT:       They didn't know it was a rental car.

19                MR. CHALMERS:          I'm sorry?

20                THE COURT:       They didn't know it was a rental car at

21      that time.

22                MR. CHALMERS:          They thought it was a rental car from

23      its appearance.

24                THE COURT:       And what is the appearance of a rental car

25      that's different from the appearance of another --


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 1                MR. CHALMERS:          A later model car, sometimes you can

 2      see some markings on it.            I have to look back, see what the

 3      officer said were the things that gave that impression.

 4                THE COURT:       Okay.        Well, it doesn't say anything in

 5      the affidavit.    It says its apparent age, appearance and

 6      Missouri license plate.

 7                MR. CHALMERS:          They also have the camera in it was a

 8      concern to them; they thought that odd.                         And they were saying

 9      here's somebody that had been in the proximity of where we

10      smelled the odor, now he's out by a rental car that has a

11      camera on it.    There are two guys.                     By that itself was that

12      suspicious?    Obviously not or they would've probably taken

13      actions there.

14                But that was part of their thought process, which is

15      verified subsequently when they are trying to locate the second

16      driver after they stopped Mr. Bosire, trying to find the Dodge

17      that they thought was associated with it, where they thought

18      that might be a caravan.

19                THE COURT:       So, I mean, frankly, I think this whole

20      thing about the silver Dodge Charger is one of the most

21      ludicrous parts of the whole affidavit.                         So they see a Dodge

22      Charger which, quote, appeared to be a rental vehicle.                        What's

23      the basis for that?       They have some superpower ability to

24      detect rental vehicles from a distance?

25                MR. CHALMERS:          I think that they would say that in


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 1      their profession that they've been around enough vehicles that

 2      stop that are rental vehicles, that they can identify them as

 3      probably being rental vehicles.

 4                I know that when Mr. McMillan left, he ran the tags

 5      for the -- for Mr. Bosire's rental and confirmed that it was a

 6      rental.   But I don't know that it takes superpower, Your Honor,

 7      I think several of us can say that looks like a rental.                       It may

 8      not be right, but we can probably make an educated guess.                      And

 9      particularly with their experience, they're probably going to

10      do better than we can.

11                THE COURT:       And so the thing that raises their

12      suspicion is that there's two rental cars at the same

13      convenience store at the same time.                      Well, actually, the Dodge

14      Charger wasn't even at the convenience store, it was just on a

15      street that was north of the convenience store and it looked

16      like it was getting on I-70 entrance ramps.

17                MR. CHALMERS:          I think it was exiting from the

18      convenience store.

19                THE COURT:       It says that it was heading toward I-70's

20      east and west -- so he's driving away, away from the plaintiff.

21                MR. CHALMERS:          Yes.

22                THE COURT:       And he's not even in the parking lot and

23      we don't even know why it might appear to be a rental car.

24                MR. CHALMERS:          My recollection of the record is that

25      they observed it in the parking lot and felt it was a rental


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 1      car.   And then when McMillan - in the part you're referencing -

 2      would say as he's leaving, which would've been about the same

 3      time he expected Mr. Bosire to leave, although it was a little

 4      before, he saw the Dodge Charger leave.                         And again, they felt

 5      maybe these were the two folks that they saw at the convenience

 6      store talking together.

 7                THE COURT:       So that again makes no sense to me,

 8      because -- so he's standing here watching Mr. Bosire and the

 9      white man with the hoodie.              And all of a sudden the white man

10      with the hoodie is driving in a silver Dodge Charger which is

11      going west on a street north of the convenience store and

12      headed toward I-70.       And he has no explanation.                          Did the man in

13      the hoodie like levitate into this other car?                                How would he

14      have gotten into there and how could he be driving it?                               I mean,

15      this -- it doesn't even hang together as a story.

16                MR. CHALMERS:          I don't -- there's nothing in the

17      record or an explanation that I'm aware of as to how the

18      officer -- or the timeline from when the officer saw the two

19      talking and from when the Dodge left to be able to say that the

20      driver was in there, but I -- excuse me, obviously that was the

21      impression of the two troopers given their immediate -- or

22      conduct afterwards to try to connect the two.

23                THE COURT:       Yeah, well, I mean, you can say that was

24      their impression.      But it sort of defies common sense to see

25      how a reasonable officer could have that impression that the


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 1      man in the hoodie is standing by the pumps talking to plaintiff

 2      one minute and literally seconds later he's in a Dodge Charger

 3      about to get on I-70, and the officers have no explanation for

 4      how he got from the pump into the car.

 5                 MR. CHALMERS:         I'm not sure that they don't have an

 6      explanation, I know it's not in the record.                             And I don't

 7      remember it being seconds, Your Honor.                        I don't remember that

 8      being in the record either.

 9                 THE COURT:      I mean, it can't be very long because he

10      sees that the -- he learns that -- he thinks the Altima that

11      plaintiff is driving is a rental car, and he gets in the car to

12      drive out of the convenience store parking lot because he wants

13      to head on down the highway so that he can try and catch

14      plaintiff in a traffic infraction, and he gets lucky and he

15      does it.   So he wants to be ahead of the plaintiff out there on

16      the highway waiting for him.

17                 And before he even gets out of the parking lot of the

18      convenience store, he sees this silver Dodge Charger.                            So, I

19      mean, I don't know how long that takes, but it's probably not

20      very long.    Maybe a minute.

21                 MR. CHALMERS:         There's no answer for that in the

22      record, other than the officers connected the two vehicles

23      given their proximity.

24                 THE COURT:      Okay.        Well, so here's my point:                 Saying

25      that they connect the two vehicles, I don't think there's an


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 1      inference of truth-telling that can arise from that because it

 2      makes no sense.

 3                  These are seasoned law enforcement officers - and I'm

 4      required to give plaintiff the benefit of the doubt, all

 5      favorable inferences - and the only thing that I see these

 6      people reacting to is the fact that you have a black man in his

 7      30s driving a new vehicle in good condition, which they think

 8      is suspicious enough to run a record check on the license

 9      plate.    And the guy -- the white guy he's talking to is wearing

10      a hoodie.

11                  And granted, there was marijuana that they smelled,

12      and I'll assume that they're telling the truth about that.                      But

13      what does that have to do with these gentlemen?

14                  MR. CHALMERS:        Their affidavits try to describe I

15      think, Your Honor, why they felt that they were connected.                      I

16      have to say I suppose in their defense that there's no

17      indication whatsoever of the fact that you had a black man -- a

18      black young man by a late model vehicle was a factor in the

19      stop or a factor in anything else they did.

20                  THE COURT:     Of course, you're -- I mean, I'm not

21      expecting that you will admit that.                      I'm saying if I give

22      plaintiff the benefit of all the inferences that plaintiff

23      could argue, that's what -- that's what you could find, because

24      there's nothing in here that would connect the plaintiff to any

25      marijuana at all except that he happened to be at a convenience


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 1      store where there was the smell of marijuana.

 2                MR. CHALMERS:          I'm not here to argue with Your Honor.

 3                THE COURT:       Okay.        Well, I mean, so my point is, what

 4      is in your reply brief that you think could change my mind?

 5      Because the video won't change my mind because it only creates

 6      more issues of fact.

 7                MR. CHALMERS:          Well, I suppose -- if we just used this

 8      last dialogue as an example, Your Honor, the subjective

 9      intentions of the officers, unless we have an entirely

10      different type of lawsuit -- the idea that, well, this is a

11      young black man and that's why we pulled him over, because it's

12      a late model vehicle, aren't relevant to the reasonable

13      suspicion analysis at all.              It's what a officer in his position

14      with his training would have understood to have been the facts

15      that lead to the reasonable suspicion.                        So that might be

16      pertinent.

17                THE COURT:       So but, I mean, to me I agree we're

18      looking at the objective standard of a reasonable officer, but

19      I'm trying explain -- trying figure out why a reasonable

20      officer would associate plaintiff with marijuana based solely

21      on the fact that he's talking to a guy in a hoodie in the

22      parking lot and is driving a newer car and he has a camera

23      mounted, which I thought the officer thought it was a radar

24      speeding detector at some point.

25                MR. CHALMERS:          Now, I think initially he felt that the


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 1      camera in front was a radar detector and the one in the back he

 2      saw was a -- appeared to be a surveillance camera.

 3                THE COURT:       Uh-huh.

 4                MR. CHALMERS:          The connection I think that they make

 5      is based on the fact that he was - that is Mr. Bosire - was in

 6      the convenience store in the area when they -- about the same

 7      time when they smelled an odor of marijuana.

 8                Now, obviously it didn't come from Mr. Bosire or it

 9      went away, but it was -- he was one of probably other folks

10      that were within that -- within that convenience store.

11                THE COURT:       That's not what the affidavit says but

12      okay.   That's why I think the video would just introduce

13      further factual issues.

14                MR. CHALMERS:          I think the video would respond to what

15      you're talking about, Your Honor.                    And in that sense, it seems

16      even more important if what we are trying to do is present to

17      the Tenth Circuit or make a presentation on summary judgment on

18      whether qualified immunity should be given.                             I think we should

19      do it on all the facts that we can present in the record.

20                THE COURT:       Well, I mean, let's talk about some of the

21      other issues.    So in Paragraph 21 he says he felt quote-unquote

22      that the Dodge Charger could be associated with the white man

23      at the gas pump and therefore caravanning.                            Again, I don't even

24      know how that would be possible if the Dodge Charger is never

25      placed in the same vicinity as the white man, and I don't know


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 1      how he would have gotten into the Dodge Charger or what his

 2      quote-unquote association with that car would be.

 3                And then he makes this statement to Officer Schulte

 4      that the white man at the convenience store is no longer in

 5      plaintiff's car, which is also complete nonsense, because in

 6      Paragraph 21 he seems to suggest that the white man was in the

 7      Dodge Charger and was caravanning, but now he's saying that the

 8      white man was in plaintiff's car and he's no longer in

 9      plaintiff's car because maybe he tele-transported himself to

10      the Dodge Charger which has now disappeared.                             I mean, help me

11      make some sense of this.

12                MR. CHALMERS:          I think his explanation -- well, I

13      think his explanation for that is that he thought you had two

14      guys associated with potentially the smell of marijuana in a

15      car that was a rental car, which has some significance to the

16      highway patrol, with a camera on it that seemed odd.                            And that

17      when he pulled them over, it wouldn't have surprised him if you

18      had just two guys in the car, but that he also felt the

19      possibility that that guy that I guess he can't account for,

20      the man with the hoodie, ultimately ended up being -- the

21      reason he can't account for him is he -- ultimately being in

22      the Dodge Charger.

23                THE COURT:       I'm sorry, say that again.

24                MR. CHALMERS:          He ultimately ended up being in the

25      Dodge Charger.


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 1                THE COURT:       He did?

 2                MR. CHALMERS:          Well, I think that's what he felt.               I

 3      don't think -- I don't know that he was.                          I don't know.

 4      Probably not, but I --

 5                THE COURT:       I know.          We don't even know if this Dodge

 6      Charger exists.    Right?

 7                MR. CHALMERS:          Well, you've got officers saying that

 8      it did under oath and you've got the radio communications and

 9      the traffic about a Dodge Charger that are made contemporaneous

10      when they're looking for it.               It would be hard to conclude that

11      it didn't exist.     But the --

12                THE COURT:       But, I mean, so why didn't the officer see

13      it when he hightailed it out on I-70 to get ahead of plaintiff

14      so he could stake a speed trap?

15                MR. CHALMERS:          It's not in the record as to why he

16      didn't see it.    I think I know, given the way it's situated, it

17      might've been difficult to -- to drive down the street and to

18      get onto it to see, but it's not in the record.

19                THE COURT:       All right.            Go ahead.

20                MR. CHALMERS:          I'm not sure what you were asking me to

21      respond to at this point.

22                THE COURT:       Okay.        So this statement that the guy with

23      the white hoodie is not any longer in plaintiff's car.

24                MR. CHALMERS:          Oh, well, of course from the officers'

25      standpoint this is a fluid situation.                       So you look at what do


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 1      you have in front of you and then you will add or subtract to

 2      what you may have if you think something is suspicious to begin

 3      with.

 4                 And his testimony was that he thought that you had the

 5      possibility of caravanning going on, but he also felt that

 6      these two guys were in the car together and then he only found

 7      one.    And that's why he went ahead and told his partner --

 8      well, his -- the other trooper out there, look, the other guy

 9      must be in the Dodge Charger.

10                 That's the -- that is the assumption or the thought

11      process he went through connecting them at the time.                             And there

12      really isn't any doubt that he did that.                          Now, Your Honor

13      addresses whether it's reasonable or not for him to have made

14      that conclusion, but obviously that's a conclusion that he and

15      Trooper Schulte drew.

16                 THE COURT:      Well, I think you probably have enough of

17      the flavor of why I think you're not entitled to qualified

18      immunity -- qualified immunity.                  Right?

19                 MR. CHALMERS:         I understand what you're coming from on

20      your comments, Your Honor.

21                 THE COURT:      I mean, I think that the affidavit that

22      you submitted is inherently self-contradictory.                              It doesn't

23      give a sufficient explanation for why a reasonable officer

24      faced with these facts would take the actions he did.                             And I --

25      since the Tenth Circuit will review this de novo, you know, I


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 1      don't really see any point in belaboring this in terms of

 2      written findings and so forth.

 3                MR. CHALMERS:          Okay, I respect that.                       I understand

 4      that you don't have to.           I think it would be helpful for the

 5      reasons I've articulated, but if -- I'm not going to insist

 6      that you do on -- something you're not supposed to do, assuming

 7      I even have the ability to do that.

 8                THE COURT:       And so, again, Exhibits 8 and 9 -- so I

 9      told you why I don't think the video would be helpful in moving

10      the needle on your request for summary judgment.                               What is it

11      about Exhibit 8 that you think would be helpful to your case?

12                MR. CHALMERS:          Exhibit 8 is -- my recollection is a

13      excerpt of Mr. Bosire's deposition in which he basically says

14      that he was -- puts himself walking into the -- to the

15      convenience store right before the two troopers left.                               What he

16      said is that there are three.                There were two having lunch

17      together, a third came in.              The third left first.                   Mr. Bosire

18      said he had kind of a conversation, opened the door with him,

19      walked in.

20                The video shows Mr. Bosire walking in and then you see

21      the two troopers, the two trooper defendants walking out.                               One

22      looking at Mr. Bosire.          And then you see within less than a

23      minute Mr. Bosire turn around and walking back out where the

24      testimony was the officers had been standing outside.

25                THE COURT:       And so, again, they're right there in his


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 1      immediate proximity and not smelling any marijuana on him.

 2                MR. CHALMERS:          I don't know -- they smelled the odor

 3      of marijuana and they associated it potentially being from him,

 4      but they did not smell it on him.                    They didn't say, look, I

 5      smelled it on Mr. Bosire at the time.                       They couldn't tell.

 6      There were a collection of people there when they smelled the

 7      odor of marijuana.

 8                THE COURT:       So, again, I mean, I think that's a

 9      genuine issue of material fact, whether a reasonable officer

10      would have associated plaintiff with the marijuana odor based

11      on that encounter and/or based on his observations at the pump.

12                But I've been talking enough, let me hear from

13      plaintiff.

14                MR. CHALMERS:          Okay.

15                MR. PIERSON:         Thank you, Your Honor.                        I'm happy to

16      answer any questions.         I think the discussion here demonstrates

17      the issues with defendants' motions for summary judgment.

18      These are exactly the kind of unsubstantiated hunches that

19      aren't sufficient to form reasonable suspicion.

20                You are correct to point out all of the

21      inconsistencies and, in fact, changes in testimony that Trooper

22      McMillan made about when and how he smelled marijuana for the

23      first time.    The only other point I would point out is that he

24      actually does pull over Mr. Bosire at some point and then

25      confirms there is no smell of marijuana.


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 1                THE COURT:       Right.

 2                MR. PIERSON:         You know, further raising a question of

 3      fact and an issue of fact about when and how he first

 4      encountered this marijuana smell, if he did.

 5                THE COURT:       And, you know, it seems to me that the

 6      stop should've been terminated immediately after the officer

 7      returned the license and insurance papers and so forth to

 8      plaintiff.    But I think it's also pretty telling that the

 9      officer doesn't decide to do a K-9 search until he's confronted

10      with a man who seems to understand his constitutional rights

11      and refuses to consent to a search.

12                So, I mean, have you all tried any jury trials since

13      George Floyd?

14                MR. CHALMERS:          I have not.

15                MR. PIERSON:         Neither have I, Your Honor.

16                THE COURT:       Well, I had -- I was down in the District

17      of New Mexico and trying a case down there, which is not

18      exactly a hotbed of liberalism.                  And if that was any

19      indication, I think you all will be very, very surprised to see

20      how juries have changed in the last two or three years,

21      especially with issues related to race.

22                And I was -- I have never actually seen anything like

23      this because it was a large jury pool, it was a criminal case,

24      and the jury panel was comprised of folks of all different

25      ages, races, ethnicities and so forth.                        But they volunteered so


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 1      much information about things such as -- well, about George

 2      Floyd and other Black Lives Matter topics.                            They used the

 3      verbiage and lingo of white fragility, implicit bias, white

 4      privilege, how do we eliminate -- they had a conversation in

 5      the courtroom among themselves about how do we eliminate

 6      implicit bias from our decisions when we're judging people of

 7      different races than ourselves.

 8                And so it was actually such an important and sensitive

 9      conversations that -- conversation that I wish I had been able

10      to record it or, you know, somehow preserve it to share with

11      people who think that America is all, you know, going down the

12      tubes because we're so divided and unable to agree on things.

13                Anyway, I don't know that I have much else to say on

14      Mr. Bosire, but I have similar thoughts with regard to the

15      Shaws, including -- so I'll go to his affidavit.

16                First of all, I don't think there's anything in the

17      record which would substantiate -- I mean, well, let me say

18      this.   Officer Schulte's affidavit seems to put a lot of

19      importance on the fact -- so apparently he was clocking the

20      drivers -- clocking the minivan by, like, a radar gun in the

21      back or something?       How does that work?

22                MR. CHALMERS:          He's got two radar detectors, as I

23      understand it, one facing forward and one back.                              And the Shaw

24      vehicle came up and he clocked them with the camera that's

25      facing towards the back, Your Honor.


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 1                THE COURT:       Okay.        And he -- I really question the

 2      claim that it is suspicious that the minivan didn't immediately

 3      pull over when the officer is driving in front of you and not

 4      behind you.    I don't know one person in a thousand that would

 5      think they're supposed to stop.                  I mean, it may be the law, but

 6      that is -- that is not how traffic works.

 7                Because under that interpretation of the law, anybody

 8      on a highway going, like, any direction before or ahead of an

 9      officer with lights would be engaged in suspicious potentially

10      criminal activity if they failed to immediately pull over.                      And

11      I think we all know that's not how people understand the law.

12                MR. CHALMERS:          The facts are that he clocked them and

13      then during the time that the minivan was passing the trooper's

14      vehicle, he turns on his lights and sirens and then the minivan

15      continues on for approximately a mile before pulling over, Your

16      Honor.

17                THE COURT:       So, I mean, how -- I guess I don't

18      understand how that is suspicious.                       He said that the minivan

19      changed lanes, so the minivan is in the left lane, and it

20      slowed down and it didn't stop for a minute-and-a-half.

21                MR. CHALMERS:          The Tenth Circuit cases have said that

22      a failure to timely pull over of a lot shorter duration can

23      support a suspicion that the driver could be doing anything

24      from -- in this instance perhaps trying to get their story

25      straight to hiding contraband to thinking about fleeing.


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 1                 THE COURT:      But what -- I'm sorry, what is timely?                         So

 2      he can't -- he can't pull over to the right of the road because

 3      the police officer is there.

 4                 MR. CHALMERS:         Yeah, I think that the duration -- he

 5      pulled over pretty much quickly in front of him.                             The video, of

 6      course, which is in the record, shows what it shows.                            But he's

 7      in the left lane passing, the lights come on, he comes over.

 8      There's traffic in front of him; he slows down because of that

 9      traffic and then continues to go on well after it would have

10      been apparent to anyone that they were obligated to pull over

11      under the law.    And the officer found that to be suspicious

12      under the circumstances.

13                 THE COURT:      So how long would be not suspicious?

14                 MR. CHALMERS:         I don't know the answer to that, Your

15      Honor.    I know that the Tenth Circuit has accepted that as

16      evidence of being suspicious at a lot shorter period than the

17      mile-and-a-half which was involved here or the minute -- or

18      whatever the time period was, I guess it would be about a

19      minute-and-a-half.

20                 THE COURT:      But, I mean, my point is there's no, like,

21      bright line rule that's -- it's really a judgment call.                            It's

22      just sort of like quintessential -- quintessential --

23                 MR. CHALMERS:         I think it is a judgment call.                    And

24      that's the point, that that judgment call -- the courts defer

25      to the training and experience of law enforcement officers in


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 1      the totality of the circumstances and we would not leave to a

 2      jury to decide whether that was a reasonable judgment call or

 3      not.

 4                  THE COURT:     Unless the facts are disputed.

 5                  MR. CHALMERS:        I'm sorry.              And the mask probably makes

 6      it hard to hear.     What I said, that -- or meant to say is that

 7      the -- it could be a judgment call; that under the law the

 8      courts defer to the experience and training of law enforcement,

 9      to their judgment as to what is suspicious; that the issue is

10      not presented to a jury for a jury to decide whether this is a

11      reasonable suspicion or not.               That is -- that is not a jury

12      question.

13                  THE COURT:     So what about this lived-in appearance?                    I

14      mean, this is sort of a label that the officer slaps on the van

15      and I don't -- I don't know what that means.                             To me if a

16      vehicle is lived in, there has to be room for people to live

17      there.    So they would have to sleep there probably, eat there,

18      and so you'd see things like maybe pillows and blankets and

19      food and stuff like that.

20                  MR. CHALMERS:        Yeah, the description I think was it

21      was full up to the brim with stuff.                      There was a cot there for

22      sleeping.    As they took things out of the vehicle, you can see

23      the whole collection there.              Maybe you and I would assign a

24      different term, lived-in appearance, but that's what they were

25      doing.


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 1                The testimony is they went to Colorado in the winter.

 2      They either parked in a parking lot and, quote, camped there or

 3      they were camped at a camping place and they were living in

 4      that vehicle.

 5                The importance was that it had a look from the

 6      training of this officer of people traveling - and I'm not sure

 7      this is the correct phrase - traveling hard; that is to say,

 8      they were traveling without the intention of many stops or

 9      places to visit.     They were -- they appeared to be like people

10      who wanted to go get their drugs and return or deliver their

11      drugs and return.      So that's the importance of the lived-in

12      look, whether we use that label or not.

13                THE COURT:       So, I mean, how does that look different

14      from a family of four that takes a road trip to California to

15      go to Disneyland on summer vacation?

16                MR. CHALMERS:          Well, I think it probably would, but it

17      -- I mean, any of these things in isolation can be innocent.

18      It's in the totality of the circumstances that the lived-in

19      look becomes more important based on the officers' training.

20                THE COURT:       Well, I know, because they train them to

21      look for a lived-in look.             That's one of the criteria that they

22      teach them so that's why it's in his affidavit.

23                So, again, what is -- how does this lived-in

24      appearance look different to a reasonable officer than the

25      appearance of a family taking a road trip to Disney World?


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 1                MR. CHALMERS:          Disney World, you'd have multiple

 2      people, kids.    Here you didn't.                Here you had a cot, you had

 3      coolers, you had things that made it appear that -- they had

 4      lots of things in the vehicle for whatever reason and they were

 5      traveling hard.

 6                THE COURT:       Luggage, coolers, a cot, blankets and

 7      other items.    That's exactly what I had in my car when I drove

 8      to Montana this summer with my grandchildren.

 9                MR. CHALMERS:          I'm guessing you had your grandchildren

10      in probably not quite the same configuration they did, I don't

11      know.

12                I mean, the Supreme Court has said you can take a

13      series of things that in isolation appear to be innocent but in

14      a totality of the circumstances can create that reasonable

15      suspicion of criminal conduct.                 They said it would have to be

16      more than a hunch but certainly not 50 percent, and you don't

17      measure it by whether you found something, although in this

18      case I think they did find a marijuana smell.

19                THE COURT:       But so far in this case the reasonable

20      suspicion is based on the fact that the car didn't immediately

21      pull over and it had a lot of stuff in it.                            Right?

22                MR. CHALMERS:          But the stuff in it was packed in a way

23      that gave a lived-in appearance or traveling hard appearance,

24      if you'd want to use that phrase as opposed to "lived in."

25                THE COURT:       Well, I mean, I guess the photos -- remind


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 1      me, do we have photos of the lived-in appearance before it was

 2      taken apart?

 3                MR. CHALMERS:          I think we have a video, Your Honor,

 4      that would show it being taken apart.                       So at the very beginning

 5      of that, yes, and then returned.

 6                THE COURT:       And when he says that he found out that

 7      the driver had a 2009 record of felony intent to distribute

 8      narcotics, what does that mean?

 9                MR. CHALMERS:          Well, by itself the Tenth Circuit has

10      said that's not a factor.             But when you combine it with other

11      things, the Tenth Circuit can -- say it can be a kind of

12      controlling factor.       The inference I guess is, whether we like

13      it or not, that if someone has been engaged in a criminal past

14      with the sale of drugs, then that might imply or give a

15      reasonable suspicion that they're continuing to do it.

16                THE COURT:       But so then at this point we have the fact

17      that he didn't pull over immediately, the fact that his car was

18      packed all the way to the front seats with gear, and he has

19      this quote-unquote record of felony intent to distribute.                      Is

20      that a conviction, an arrest?                What is a record?

21                MR. CHALMERS:          Well, in this instance I think they

22      report an arrest.      He went through diversion, Your Honor.

23                THE COURT:       And did the -- but we don't know what the

24      officer knew other than what it says right there.

25                MR. CHALMERS:          The only thing the officer gets is what


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 1      that says.    And I think the officer's understanding is that --

 2      well, I don't know what the officer's understanding is.                               I want

 3      to say that the officer knows that that means an arrest, but it

 4      may not be true, I don't know.

 5                  THE COURT:     I mean, would they say conviction if it

 6      were a conviction?

 7                  MR. CHALMERS:        No.

 8                  THE COURT:     Okay.        And here again, you know, it looks

 9      like the reason why he called the drug dog is basically because

10      the plaintiff refused to consent to a search.                                Right?

11                  MR. CHALMERS:        No.

12                  THE COURT:     Okay.        What am I missing?

13                  MR. CHALMERS:        He called the drug dog on the basis of

14      his reasonable suspicion.             He asked for consent and it was not

15      obtained.    The two --

16                  THE COURT:     Right, but -- okay.                    So the basis for his

17      suspicion is he didn't pull over; he has a past criminal

18      history; the highly doubtful one, that he was traveling on I-70

19      which goes to Colorado; the fact that his father is the owner

20      of the vehicle.    Like, I think this is sort of a laugher

21      myself, that he -- he thinks that it shows reasonable suspicion

22      to think somebody is using drugs if they get the family

23      minivan.

24                  MR. CHALMERS:        The non-owned vehicle is something that

25      officers have learned in their training is used by people to


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 1      transport drugs.     And I think he'd say it doesn't make any

 2      difference whether it's owned by a family member or not, it's

 3      that it's not owned that is critical.                       By itself no big deal.

 4      The fact that it's the father's vehicle, by itself no big deal.

 5      And he did confirm that it was at least somebody with the same

 6      last name as Mr. Shaw, so there's no doubt there.                             But it's in

 7      the totality that makes a difference.

 8                THE COURT:       Well, yeah, plaintiff said it was his

 9      father's car.

10                MR. CHALMERS:          Yeah.

11                THE COURT:       And it wasn't stolen and there was no

12      reason to think that he -- that the driver didn't have

13      permission to use it.         I mean, I'm just surprised that you can

14      stand here with a straight face and tell me that taking the

15      family minivan to Colorado is -- supports a reasonable

16      suspicion that you're involved in drugs.

17                MR. CHALMERS:          By itself it sure doesn't.

18                THE COURT:       He says, "I also found a suspicion --

19      suspicious that the driver claimed to be a criminal justice

20      major at his age and that he would refuse a search if he were a

21      criminal justice major."

22                MR. CHALMERS:          That is not a ground that we rely on.

23      I think that is something that is a little bit of a red herring

24      that was thrown in by the plaintiffs.

25                THE COURT:       Well, it's in Paragraph 20 of your


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 1      affidavit.

 2                MR. CHALMERS:          I think that -- I've got a footnote

 3      that explains we don't rely on that and explains that there are

 4      things that can be voiced by law enforcement that -- on their

 5      kind of a subjective basis and their thinking that -- even if

 6      they don't attach anything to reasonable suspicion, do not

 7      alter whether there's reasonable suspicion on other grounds.

 8                THE COURT:       Okay.        But, I mean, I don't think -- when

 9      you've got your client saying what he thinks is suspicious, I

10      don't think you get to pick and choose which ones you think the

11      court should consider.

12                I mean, frankly, again, I think that this almost

13      doesn't pass the smell test, that he says, "I found it

14      suspicion that he claimed -- suspicious that B. Shaw claimed to

15      be a criminal justice major at his age" -- I have no idea what

16      that meant, means -- "that he would refuse a search if he were

17      a criminal justice major."              Again, I don't -- I don't see any

18      plausible support for that in the affidavit.

19                And then he makes this statement, "My experience is

20      that people with a criminal justice degree have no reluctance

21      about a law enforcement search of their vehicle."                             I don't know

22      what that means either.           Or why he would think that it's --

23      well, I don't understand why he doesn't believe that the driver

24      was a criminal justice major "at his age," but it doesn't seem

25      to me to be -- it doesn't seem to me that a reasonable officer


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 1      would believe that if you have a criminal justice degree you

 2      should have no reluctance to allow a search.                             And if you don't

 3      consent to a search, that's an indication that you're involved

 4      in criminal activity.

 5                MR. CHALMERS:          That's not a ground we rely on.

 6                THE COURT:       Okay.        I'm just saying --

 7                MR. CHALMERS:          But I agree with you, it's not a basis

 8      for reasonable suspicion, Your Honor.

 9                THE COURT:       But it throws -- I assume you wrote this

10      affidavit.    Right?

11                MR. CHALMERS:          I wouldn't say I wrote it, no, but I

12      assisted in the writing of it.

13                THE COURT:       Okay.        Well, who wrote it then?

14                MR. CHALMERS:          Well, it's the officer's affidavit,

15      Your Honor.

16                THE COURT:       I realize it's that, but I've never seen

17      officers that write their own affidavits without the lawyers

18      participating.

19                MR. CHALMERS:          I assisted in it.                  I can't tell you the

20      particular spot --

21                THE COURT:       Okay.        Well --

22                MR. CHALMERS:          -- or pick that language or where it

23      came from.    It might've been from his report.

24                THE COURT:       I'm just saying when you put stuff like

25      that in an affidavit as a grounds for suspicion, that just sort


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 1      of reeks of nonsense.         It doesn't really rehabilitate your case

 2      that much to say, well, as the lawyer I'm not relying on that,

 3      because it discredits the other bases for the alleged

 4      reasonable suspicion.         And it puts us back in the category of

 5      -- you know, the declaration of Officer Schulte doesn't really

 6      in my opinion have a coherent, objectively reasonable narrative

 7      that defeats the inferences in favor of plaintiff on the issue

 8      of qualified immunity.

 9                Is there anything in your reply brief that you think

10      should change that outcome if you were allowed to file it?

11                MR. CHALMERS:          Well, the reply brief sets forth the

12      law that -- the one that might be pertinent here I guess is --

13      to the discussion we just talked about, which is that what an

14      officer subjectively thinks is a basis for reasonable suspicion

15      or probable cause; what the officer articulates as a basis or

16      doesn't articulate as an officer as probable cause in the test.

17      The test is what - based on the historical facts - is

18      reasonable suspicion.

19                And that's probably why the Tenth Circuit has had no

20      problem where they find -- what they find -- items that they

21      say, look, this doesn't amount to reasonable suspicion.                       It's

22      been articulated by the officer, but we don't care, we'll move

23      on to those other items and see whether or not that amounts to

24      reasonable suspicion or not.               That might be one item.

25                But I think that the reply brief as to Shaws, I don't


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 1      -- there are no new exhibits.                The record cited is already in

 2      there so it doesn't have the Bosire sort of context, but it

 3      does collect the law that I think is pertinent.                              Both the

 4      Bosire and the Shaw reply briefs maybe stressed - although I

 5      think it was in the opening brief - the requirement when you're

 6      talking about whether there is a clearly-established law for

 7      factually similar cases from the Tenth Circuit or the Supreme

 8      Court which aren't being provided.

 9                My position is that that requires probably in a

10      reasonable suspicion context, consent context where you're

11      looking at the totality of the circumstances, that requires a

12      case that's if not on all fours, it's pretty darn close, that

13      says that this conduct is unconstitutional so as to notify

14      every officer that it would've been a violation if they did it.

15                THE COURT:       So on your appeal I don't think anything

16      we do here will limit your ability to cite whatever authority

17      you think is appropriate.             So if it's just a question of legal

18      citations to additional authority, I honestly don't think that

19      you are prejudiced if I deny your motion for leave to file a

20      reply in each of these cases.

21                I mean, it's a close question whether you should be

22      allowed to file these out of time anyway.                           I don't think that

23      your mistake in the filing -- in calendaring the filing

24      deadline was excusable neglect.                  But on the other hand, there's

25      not any great amount of prejudice other than the fact that now


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 1      you're filing an interlocutory appeal over the issue.                         Maybe

 2      you would have done that anyway, so I don't know about that.

 3      The length of the delay is not much.                      The reason for the delay

 4      was entirely within your control and was not excusable.                        I have

 5      no reason to think you acted in bad faith.

 6                  But because the replies that you want to file really

 7      add nothing of consequence that I think would impact the

 8      outcome here, I'm going to deny leave to file the reply and the

 9      exhibits.    Also, I think you filed your replies without leave

10      of court, so I think they both need to be stricken.

11                  Again, the only succinct way to reiterate the reason

12      for both rulings was strictly on the basis that genuine issues

13      of material fact precluded the court from concluding as a

14      matter of law that the individual officers were entitled to

15      qualified immunity.       And in making that finding I was giving

16      plaintiffs the benefit of all favorable inferences, and that's

17      what they're entitled to.

18                  So is there anything else we need to take up before

19      you can all notify the Tenth Circuit that you're ready to

20      re-group in that court?

21                  MR. CHALMERS:        Your Honor, I appreciate your time and

22      you looking at these motions.                I don't know that I've ever

23      asked a judge to reconsider and I wasn't very optimistic.                        I

24      want you to know there's no disrespect, I explained my

25      justifications for it.          But I don't have any more to add.


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 1                THE COURT:       Okay.        I mean, as a practical matter, and

 2      I don't mean this personally -- I don't take this personally

 3      and I hope you don't take my comments personally either.                               But,

 4      you know, this is a case where qualified immunity isn't really

 5      serving any purpose, even if I grant it, because the individual

 6      officers aren't paying for their own defense.                                They're not

 7      subject to any financial hardship or expense because you're

 8      representing them, so...

 9                And I could spend -- I could spend a lot of time

10      writing on this and it wouldn't make any difference in the end

11      because the Tenth Circuit will conduct de novo review and so --

12      I mean, it honestly makes me -- what do I want to say -- it

13      bemuses me when lawyers think that they know better than I do

14      what's the best use of judicial resources, you know, my time,

15      my law clerks'.    I don't see that the benefits of me writing on

16      this are going to pay off in any way down the road at the time

17      of trial in either of the respects that you mentioned.

18                So if and when we go to trial -- I know it's a long

19      ways off and the record may look a lot different when we get to

20      that point, so I think we'll just leave it where it is.

21                All right.       Anything else for plaintiffs?

22                MR. PIERSON:         No, Your Honor.                 Thank you for your

23      time.

24                THE COURT:       Okay.        Thank you all.                Be safe.      And good

25      luck with your discovery; it looks like you're having some


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 1      problems.    So take care and we'll be in touch.                             Court's in

 2      recess.

 3                  (2:32 p.m., proceedings concluded).

 4

 5                                               * * *

 6

 7

 8                                 C E R T I F I C A T E

 9              I certify that the foregoing is a correct transcript

10      from the record of proceedings in the above-entitled matter.

11

12      September 10, 2021.

13

14
                                       /s/ Kelli Stewart
15                                     KELLI STEWART, CSR, RPR, CRR, RMR
                                       United States Court Reporter
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